                Case 18-33301                 Doc 19            Filed 01/16/19 Entered 01/16/19 12:40:38                          Desc Main
                                                                  Document     Page 1 of 1


Fill in this information to identify your case:

Debtor I                    Victoria D Yawanis
                            First Name                     Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name                     Middle Name              Last Name


United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

Case number              18-33301
(if known)
                                                                                                                                  • Check if this is an
                                                                                                                                    amended filing



Official Form 1 O6Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12115


If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        0 N
        O      Yes. Name of person                                                                              Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.


             Vict6ria D Yawanis                                                         Signature of Debtor 2
             Signature of Debtor 1

             Date                                                                       Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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